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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


In re:                                                     Case No. 18-32106

Erin Energy Corporation, et al.,1                          (Chapter 11)

         Debtors.                                          (Jointly Administered)


    NOTICE OF HEARING ON ARMADA OYO LIMITED’S AND BUMI ARMADA
(SINGAPORE) PTE. LTD’S (A) EMERGENCY MOTION FOR AN ORDER PURSUANT
     TO SECTIONS 105(A), 362(D)(1), AND 363(E) OF THE BANKRUPTCY CODE
  MODIFYING THE AUTOMATIC STAY AND GRANTING RELATED RELIEF AND
    (B) EMERGENCY MOTION TO COMPEL ASSUMPTION OR REJECTION OF
          EXECUTORY CONTRACTS PURSUANT TO 11 U.S.C. § 365(D)(2)

         PLEASE TAKE NOTICE that a hearing will be held before the Honorable Marvin Isgur,

United States Bankruptcy Judge, at the United States Bankruptcy Court, 515 Rusk, 4th Floor,

Courtroom 404, Houston, Texas 77002, on May 23, 2018, at 9:00 a.m. (CT) on the following

motions and supporting documents requesting certain emergency relief (collectively, the

“Motions”), which were filed by Armada Oyo Limited (“AOL”) and Bumi Armada (Singapore)

Pte. Ltd. (“BASPL,” and together with AOL, “Bumi”) in connection with the above-referenced

Chapter 11 cases:

        Emergency Motion for an Order Pursuant to Sections 105(a), 362(d)(1), and 363(e) of the
         Bankruptcy Code Modifying the Automatic Stay and Granting Related Relief [Dkt. No.
         69]; and

        Emergency Motion to Compel Assumption or Rejection of Executory Contracts Pursuant
         to 11 U.S.C. § 365(d)(2) [Dkt. No. 71].




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        The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The
other Debtors in these cases are: Erin Energy Kenya Limited; Erin Energy Kenya Limited; and Erin
Petroleum Nigeria Limited. The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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       Copies of the Motions may be (i) inspected in the office of the Clerk of the Bankruptcy

Court during normal business hours; and (ii) downloaded from the Bankruptcy Court’s website

at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration with the PACER

Service Center and payment of a fee may be required to access such documents. Requests for

copies of the Motions and further information regarding the hearing may also be made to

undersigned counsel for Bumi.

Dated: May 14, 2018.                       Respectfully submitted,

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                                           COUNSEL FOR ARMADA OYO LIMITED
                                           and
                                           BUMI ARMADA (SINGAPORE) PTE. LTD.




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